       Case 3:17-cv-04934-VC Document 305 Filed 07/01/22 Page 1 of 3

                                                                        FILED
                   UNITED STATES COURT OF APPEALS                        JUN 30 2022

                                                                     MOLLY C. DWYER, CLERK
                           FOR THE NINTH CIRCUIT                       U.S. COURT OF APPEALS




COUNTY OF SAN MATEO, individually             No.   18-15499
and on behalf of the People of the State of
California,                                   D.C. No. 3:17-cv-04929-VC
                                              Northern District of California,
             Plaintiff-Appellee,              San Francisco

v.
                                              ORDER
CHEVRON CORPORATION; et al.,

             Defendants-Appellants.



CITY OF IMPERIAL BEACH,                       No.   18-15502
individually and on behalf of the People of
the State of California,                      D.C. No. 3:17-cv-04934-VC
                                              Northern District of California,
             Plaintiff-Appellee,              San Francisco

v.

CHEVRON CORPORATION; et al.,

             Defendants-Appellants.



COUNTY OF MARIN, individually and             No.   18-15503
on behalf of the People of the State of
California,                                   D.C. No. 3:17-cv-04935-VC
                                              Northern District of California,
             Plaintiff-Appellee,              San Francisco
        Case 3:17-cv-04934-VC Document 305 Filed 07/01/22 Page 2 of 3




 v.

CHEVRON CORPORATION; et al.,

              Defendants-Appellants.



COUNTY OF SANTA CRUZ,                             No.   18-16376
individually and on behalf of The People
of the State of California; et al.,               D.C. Nos.   3:18-cv-00450-VC
                                                              3:18-cv-00458-VC
              Plaintiffs-Appellees,                           3:18-cv-00732-VC
                                                  Northern District of California,
 v.                                               San Francisco

CHEVRON CORPORATION; et al.,

              Defendants-Appellants.


Before: IKUTA, CHRISTEN, and LEE, Circuit Judges.

      Appellants’ Motion to Stay the Mandate (Dkt. 328) is granted.

      Pursuant to Rule 41(d) of the Federal Rules of Appellate Procedure, the

mandate is stayed for 90 days to permit Appellants to file a petition for writ of

certiorari in the Supreme Court. Appellants must notify the Court in writing that

the petition has been filed, in which case the stay will continue until the Supreme

Court resolves the petition. See Fed. R. App. P. 41(d)(2)(B)(ii). Should the

Supreme Court grant certiorari, the mandate will be stayed pending disposition of



                                           2
        Case 3:17-cv-04934-VC Document 305 Filed 07/01/22 Page 3 of 3




the case. Should the Supreme Court deny certiorari, the mandate will issue

immediately. The parties shall advise this Court immediately upon the Supreme

Court’s decision.




                                        3
